Case 18-19054-JNP                            Doc 488              Filed 10/22/18 Entered 10/22/18 21:51:04                                              Desc Main
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                                                            UNITED STATES BANKRUPTCY COURT
                                                             FOR THE DISTRICT OF NEW JERSEY



In re: Garces Restam'iint Group, Inc.                                                   Case No. 18-190S4 (JNP)
Debtor                                                                                  Reporting Period; 07/?3/2018 to 07/31/2018



                                                                 MONTHLY OPERATING REPORT
                               File with Court and submit copy to United States Trustee within 20 days after end of month.



Submit copy of report to any official committee appointed in the case.


                                                                                                                 ^DocunientS 3ExpI|inatu)n:. !^ffid^i@Su][»iiIenien||
»@3iniffiDa)^BMp^!ia^                                                                      SCwntS&SS                 SKtadieais ISS-ttadieaSI ll%%5Sttachaia;s;sggg
Schedule of Cash Receipts and Disbursements                                             MOR-1                           x
   Bank Reconciliation (or copies of debtor's bank reconciliations)                     MOR-la                          x
    Schedule of Professional Fees Paid                                                  MOR-lb                         N/A
   Copies of bank statements                                                                                            x
   Cash disbursements journals
Statement of Operations                                                                 MOR-2
Balance Sheet                                                                           MOR-3
Status ofPostpetition Taxes                                                             MOR-4
   Copies of IRS Form 6123 or payment receipt
   Copies of tax returns filed during reporting period
Summary of Unpaid Postpetition Debts                                                    MOR-4
   Listing of aged accounts payable                                                     MOR-4
Accounts Receivable Reconciliation and Aging                                            MOR-5
Debtor Questionnaire                                                                    MOR-5



I declare under penalty of perjury (28 U.S.C. Section 1746) that this report and the attached documents
are true and correct to the best of my knowledge and belief.




Signature of Debtor                                                                     Date




Signature of Joint Debtor                                                               Date



                                                                                        io|nl^
                                                                                        Date



                                                                                        MfliAa^Ati ^em^otr
Printed Name of Authorized Individual                                                   Title ofAutlH-izefIidividual



*Authori2ed individual must be an officer, director or shareholder if debtor is a corporation; a partner if debtor
is a partnership; a manager or member if debtor is a limited liability company.




                                                                                                                                                                    MOR
                                                                                                                                                                  (04/07)
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In re: Garces Restaurant Group, Inc.                                                                                                                                       Case No. 18-19054 (JNP)
Debtor                                                                                                                                              Reporting Period:      07/03/2018 to 07/31/2018


                                                        SCHEDULE OF CASH RECEIPTS AND DISBURSEMENTS
Amounts reported should be per the debtor's books, not the bank statement. The beginning cash should be the ending cash from the prior month or, if this is the
first report, the amount should be the balance on the date the petition was filed. The amounts reported in the "CURRENT MONTH - ACTUAL" column must
equal the sum of the four bank account columns. The amounts reported in the "PROJECTED" columns should be taken from the SMALL BUSINESS INITIAL
REPORT (FORM IR-1) . Attach copies of the bank statements and the cash disbursements journal. The total disbursements listed in the disbursements journal
must equal the total disbursements reported on this page. A bank reconciliation must be attached for each account. [See MOR-1 (CON'T)]

                                                                   BANK ACCOUNTS                                                 CURRENT MONTH                             CUMULATIVE FILING TO DATE


                                                  M&T Operating          M&T Controlled Disb. M&T Utilities                  ACTUAL                  PROJECTED                     ACTUAL                   PROJECTED
CASH BEGINNING OF MONTH                                  $21,905.17                 $13,135.97              $0.00                $35,041.14                                          $159,836.04


RECEIPTS
MGT INCOME                                                                                                                                -                                            152,678.74
GIFT CARD SALES                                             5,109.67                                                               5,109.67                                             19,594.78
LOANS AND ADVANCES                                                                                                                        -                                                     -
NET BUYER ACTIVITY *                                       (1,202.15)                   (536.77)                                   (1,738.92)                                            (1,738.92)
OTHER                                                       7,873.42                                                               7,873.42                                             39,761.25
SALE PROCEEDS **                                         383,322.41                                                              383,322.41                                            383,322.41
OTHER INTERCOMPANY                                         34,734.35                                                              34,734.35                                            123,998.74
TRANSFERS (FROM DIP ACCTS)                               178,633.75                  35,336.72                                   213,970.47                                          1,569,161.44
  TOTAL RECEIPTS                                        $608,471.45                 $34,799.95              $0.00              $643,271.40                                         $2,286,778.44


DISBURSEMENTS
NET PAYROLL                                                97,201.14                                                              97,201.14                                            596,398.60
EMPLOYEE BENEFITS                                                                                                                         -                                            243,473.36
SALES, USE, & OTHER TAXES                                                                                                                 -                                               1,454.00
FOOD AND BEVERAGE                                                                                                                         -                                               3,276.28
SECURED/ RENTAL/ LEASES                                    80,569.32                                                              80,569.32                                            139,373.04
OVER 30 DAYS A/P
INSURANCE                                                  39,754.00                                                              39,754.00                                            151,101.67
ADMINISTRATIVE                                                                                                                            -                                             27,686.27
UTILITIES                                                                                                                                 -                                               3,117.18
DEBIT CARD FUNDING                                         18,000.00                                                              18,000.00                                            308,000.00
OTHER                                                                                  7,644.21                                    7,644.21                                             37,164.63
TRANSFERS (TO DIP ACCTS)                                 333,031.69                                                              333,031.69                                            520,396.49
BANK CHARGES                                                2,348.12                      36.50                                    2,384.62                                               7,214.51
AMEX LOAN                                                                                                                                 -                                                     -
OTHER PROFESSIONALS                                                                  25,000.00                                    25,000.00                                             25,000.00
OTHER INTERCOMPANY                                              25.74                                                                  25.74                                                633.63
PROFESSIONAL FEES                                                                                                                         -                                            275,000.00
U.S. TRUSTEE QUARTERLY FEES                                                                                                               -                                                     -
COURT COSTS                                                                                                                               -                                             32,623.00
TOTAL DISBURSEMENTS                                      570,930.01                  32,680.71                -                $603,610.72                                         $2,371,912.66


NET CASH FLOW                                            $37,541.44                  $2,119.24              $0.00                $39,660.68                                           ($85,134.22)
(RECEIPTS LESS DISBURSEMENTS)



CASH - END OF MONTH                                      $59,446.61                 $15,255.21              $0.00                $74,701.82                                            $74,701.82


* Amounts represent the net activity of funds collected and disbursed on behalf of the buyer due to issues with transitioning accounts. As of July 31, the Debtor was still in process of a final reconciliation.
The turnover of funds to the buyer will be represented in the August Monthly Operating Report.

** Transferred from Attorney Escrow

                                                                             THE FOLLOWING SECTION MUST BE COMPLETED
DISBURSEMENTS FOR CALCULATING U.S. TRUSTEE QUARTERLY FEES: (FROM CURRENT MONTH ACTUAL COLUMN)
TOTAL DISBURSEMENTS                                                                                                                                                                                             $603,610.72
  LESS: TRANSFERS TO DEBTOR IN POSSESSION ACCOUNTS                                                                                                                                                              (333,031.69)
  PLUS: ESTATE DISBURSEMENTS MADE BY OUTSIDE SOURCES (i.e. from escrow accounts) *                                                                                                                                    $0.00
TOTAL DISBURSEMENTS FOR CALCULATING U.S. TRUSTEE QUARTERLY FEES                                                                                                                                                 $270,579.03


                                                                                                                                                                                                                              FORM MOR-1
                                                                                                                                                                                                                                   (04/07)
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                                                           10150 M&T Operating, Period Ending 07/31/2018

                                                                      RECONCILIATION REPORT

                                                                        Reconciled on: 08/21/2018

                                                                     Reconciled by: Harris Goldberg

  Any changes made to transactions after this date aren't included in this report.

  Summary                                                                                                                                         USD

  Statement beginning balance                                                                                                                 5,245.27
  Checks and payments cleared (68)                                                                                                         -668,125.53
  Deposits and other credits cleared (64)                                                                                                   722,326.87
  Statement ending balance                                                                                                                   59,446.61

  Register balance as of 07/31/2018                                                                                                         59,446.61
  Cleared transactions after 07/31/2018                                                                                                          0.00
  Uncleared transactions after 07/31/2018                                                                                                   -7,314.68
  Register balance as of 08/21/2018                                                                                                         52,131.93



  Details

  Checks and payments cleared (68)

  DATE                             TYPE                              REF NO.                          PAYEE                             AMOUNT (USD)
  05/01/2018                       Journal                           BS Rev CS                                                              -87,122.55
  07/01/2018                       Bill Payment                      3086                             Xtra Chef                              -2,460.00
  07/02/2018                       Expense                                                                                                   -2,400.00
  07/02/2018                       Bill Payment                                                       Efficient Frontier                     -2,925.00
  07/02/2018                       Expense                                                                                                     -600.00
  07/03/2018                       Expense                                                            PNC Merchant Services Com…                 -9.44
  07/03/2018                       Expense                                                            PNC Merchant Services Com…               -105.99
  07/03/2018                       Expense                                                            PNC Merchant Services Com…                 -4.34
  07/03/2018                       Expense                                                                                                     -400.00
  07/03/2018                       Journal                           TD transfer 7/2                                                         -8,000.00
  07/03/2018                       Expense                                                            Gateway                                   -21.90
  07/03/2018                       Journal                           M&T Loan Interest                                                      -37,039.00
  07/03/2018                       Journal                           V/MC/Dis Fees 7/2                                                          -30.00
  07/05/2018                       Bill Payment                                                       UPS                                       -28.73
  07/05/2018                       Journal                           Moores V/MC Fees                                                           -19.50
  07/05/2018                       Journal                           P5 Mgt Fee Credit                                                         -436.50
  07/05/2018                       Expense                                                                                                     -200.00
  07/05/2018                       Expense                                                                                                   -7,000.00
  07/06/2018                       Journal                           card trsf 7/6                                                          -10,000.00
  07/06/2018                       Journal                           Moores AMEX fees                                                           -39.46
  07/06/2018                       Expense                                                                                                     -300.00
  07/06/2018                       Expense                                                                                                      -63.00
  07/06/2018                       Bill Payment                      wire                             2401 Walnut LP                        -21,765.16
  07/09/2018                       Expense                                                            Bank Fees                               -2,117.49
  07/09/2018                       Bill Payment                      Wire                             Dash and Love                         -39,754.00
  07/11/2018                       Bill Payment                                                       UPS                                       -20.59
  07/11/2018                       Expense                                                                                                   -1,500.00
  07/12/2018                       Journal                           07.12.18 Bank Trx                                                          -25.74
  07/12/2018                       Journal                           07.12.18 Bank Trx                                                          -63.17
  07/12/2018                       Journal                           07.12.18 Bank Trx                                                          -50.43
  07/12/2018                       Journal                           07.12.18 Bank Trx                                                      -97,201.14
  07/17/2018                       Bill Payment                      3087                             2401 Walnut LP                        -21,765.16
  07/18/2018                       Journal                           07.18.18 Bank Trx                                                         -193.40
  07/19/2018                       Journal                           07.19.18 Bank Trx                                                       -3,976.54
  07/19/2018                       Journal                           07.19.18 Bank Trx                                                       -1,555.04
  07/19/2018                       Journal                           07.19.18 Bank Trx                                                       -1,630.98
  07/19/2018                       Journal                           07.19.18 Bank Trx                                                       -1,698.85
  07/19/2018                       Journal                           07.19.18 Bank Trx                                                         -120.95
  07/19/2018                       Journal                           07.19.18 Bank Trx                                                         -340.55
  07/19/2018                       Journal                           07.19.18 Bank Trx                                                      -11,843.98

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  DATE                            TYPE                 Document
                                                         REF NO.    Page 8 ofPAYEE
                                                                              17                             AMOUNT (USD)
  07/19/2018                      Journal                07.19.18 Bank Trx                                       -40,450.64
  07/19/2018                      Journal                07.19.18 Bank Trx                                       -22,439.04
  07/19/2018                      Journal                07.19.18 Bank Trx                                       -22,360.77
  07/19/2018                      Journal                07.19.18 Bank Trx                                        -4,866.37
  07/19/2018                      Journal                07.19.18 Bank Trx                                       -14,293.75
  07/19/2018                      Journal                07.19.18 Bank Trx                                       -11,843.98
  07/19/2018                      Journal                07.19.18 Bank Trx                                        -4,836.98
  07/19/2018                      Journal                Catering Liq Tax Adj                                     -5,542.88
  07/19/2018                      Journal                07.19.18 Bank Trx                                        -2,718.83
  07/19/2018                      Journal                07.19.18 Bank Trx                                        -4,688.95
  07/19/2018                      Journal                07.19.18 Bank Trx                                        -9,433.93
  07/19/2018                      Journal                07.19.18 Bank Trx                                        -6,815.46
  07/19/2018                      Journal                07.19.18 Bank Trx                                        -5,134.65
  07/19/2018                      Journal                07.19.18 Bank Trx                                        -1,463.73
  07/19/2018                      Journal                07.19.18 Bank Trx                                        -2,718.83
  07/19/2018                      Journal                07.19.18 Bank Trx                                        -2,629.81
  07/19/2018                      Journal                07.19.18 Bank Trx                                        -2,313.86
  07/19/2018                      Journal                07.19.18 Bank Trx                                        -3,815.53
  07/19/2018                      Journal                07.19.18 Bank Trx                                        -2,960.13
  07/20/2018                      Transfer                                                                        -1,600.00
  07/24/2018                      Journal                07.24.18 Bank Trx                                       -13,167.91
  07/25/2018                      Journal                M&T to Beneficial                                        -1,008.75
  07/26/2018                      Journal                07.26.18 Bank Trx                                        -4,340.53
  07/26/2018                      Journal                07.26.18 Bank Trx                                        -6,823.48
  07/26/2018                      Journal                07.26.18 Bank Trx                                       -39,114.64
  07/26/2018                      Journal                07.26.18 Bank Trx                                        -9,219.93
  07/27/2018                      Expense                                                                        -25,873.72
  07/30/2018                      Journal                07.30.18 Bank Trx                                       -30,819.87

  Total                                                                                                       -668,125.53


  Deposits and other credits cleared (64)

  DATE                            TYPE                   REF NO.                PAYEE                        AMOUNT (USD)
  05/01/2018                      Journal                Balance end 5/1                                         39,347.55
  05/02/2018                      Journal                M&T true Up                                             47,775.00
  07/01/2018                      Journal                Tropicana                                               25,000.00
  07/02/2018                      Deposit                                                                           100.00
  07/02/2018                      Deposit                                                                            145.20
  07/03/2018                      Receive Payment                               Buena Onda Callowhill               4,595.76
  07/03/2018                      Deposit                                                                              61.25
  07/03/2018                      Receive Payment                               JG Domestic                         4,836.74
  07/03/2018                      Receive Payment                               Distrito Pa                      15,012.06
  07/03/2018                      Journal                CHUBB Payroll                                           16,331.81
  07/03/2018                      Deposit                                                                           766.49
  07/03/2018                      Journal                AC4 Fees 7/3                                                900.00
  07/03/2018                      Journal                KOP Tsf 7/3                                                 450.00
  07/03/2018                      Deposit                                                                            200.00
  07/03/2018                      Deposit                                                                            200.00
  07/05/2018                      Deposit                                                                            100.00
  07/06/2018                      Deposit                                                                           100.00
  07/06/2018                      Journal                Covering GRG Rent                                       22,000.00
  07/09/2018                      Journal                07.09.18 Deposit                                            592.00
  07/09/2018                      Journal                07.09 FUND TRANSFER                                        7,177.21
  07/09/2018                      Receive Payment                               Distrito Pa                         6,946.48
  07/09/2018                      Receive Payment                               Distrito Pa                          877.77
  07/09/2018                      Receive Payment                               Distrito Pa                          568.86
  07/09/2018                      Receive Payment                               Distrito Pa                          223.64
  07/09/2018                      Receive Payment                               Tinto PA                            7,525.38
  07/09/2018                      Receive Payment                               Tinto PA                              67.13
  07/09/2018                      Deposit                                                                             100.00
  07/09/2018                      Receive Payment                               Amada PA                            7,288.51
  07/09/2018                      Receive Payment                               Garces Trading Co.                   959.01


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  DATE                            TYPE                    Document
                                                            REF NO.    Page 9 ofPAYEE
                                                                                 17                                   AMOUNT (USD)
  07/09/2018                      Receive Payment                                   Volver                                   1,529.63
  07/09/2018                      Receive Payment                                   JG Domestic                              1,534.42
  07/09/2018                      Receive Payment                                   Buena Onda Callowhill                    1,973.65
  07/09/2018                      Receive Payment                                   Olde Bar                                 3,116.79
  07/09/2018                      Receive Payment                                   Distrito Pa                              3,577.12
  07/09/2018                      Receive Payment                                   GRG Chubb LLC                            3,644.25
  07/09/2018                      Receive Payment                                   Garces Catering Events                   6,998.88
  07/10/2018                      Deposit                                                                                      686.75
  07/10/2018                      Deposit                                                                                      43.75
  07/10/2018                      Deposit                                                                                      96.73
  07/10/2018                      Deposit                                                                                     100.00
  07/11/2018                      Receive Payment                                   CIGNA                                    4,682.60
  07/11/2018                      Deposit                                                                                      50.00
  07/12/2018                      Journal                   07.12.18 Bank Trx                                              90,000.00
  07/13/2018                      Deposit                                                                                     350.00
  07/13/2018                      Deposit                                                                                     145.02
  07/16/2018                      Journal                   07.16.18 Bank Trx                                                  193.40
  07/17/2018                      Journal                   07.17.18 Bank Trx                                                6,583.00
  07/17/2018                      Journal                   07.17.18 Bank Trx                                             195,000.00
  07/17/2018                      Journal                   07.17.18 Bank Trx                                                 958.75
  07/18/2018                      Journal                   07.18.18 Bank Trx                                                  50.00
  07/18/2018                      Journal                   07.18.18 Bank Trx                                              62,811.41
  07/19/2018                      Journal                   07.19.18 Bank Trx                                             112,343.09
  07/23/2018                      Deposit                                                                                  13,167.91
  07/23/2018                      Deposit                                                                                     600.00
  07/23/2018                      Deposit                                                                                      72.52
  07/24/2018                      Deposit                                                                                     734.75
  07/24/2018                      Deposit                                                                                      96.73
  07/27/2018                      Deposit                                                                                        6.60
  07/27/2018                      Deposit                                                                                     193.40
  07/30/2018                      Deposit                                                                                      96.73
  07/30/2018                      Deposit                                                                                      50.00
  07/31/2018                      Deposit                                                                                     402.25
  07/31/2018                      Deposit                                                                                      43.75
  07/31/2018                      Deposit                                                                                     145.14

  Total                                                                                                                 722,326.87


  Additional Information

  Uncleared checks and payments after 07/31/2018

  DATE                            TYPE                      REF NO.                 PAYEE                             AMOUNT (USD)
  08/01/2018                      Expense                                                                                  -1,697.40
  08/01/2018                      Transfer                                                                                 -3,206.62
  08/03/2018                      Expense                                           PNC Merchant Services Com…                 -1.63
  08/03/2018                      Expense                                           PNC Merchant Services Com…                  -8.66
  08/03/2018                      Expense                                           PNC Merchant Services Com…                 -22.41
  08/06/2018                      Journal                   M&T to Beneficial 8/6                                             -887.87
  08/08/2018                      Expense                                                                                  -2,039.21

  Total                                                                                                                  -7,863.80


  Uncleared deposits and other credits after 07/31/2018

  DATE                            TYPE                      REF NO.                 PAYEE                             AMOUNT (USD)
  08/01/2018                      Deposit                                                                                     150.00
  08/15/2018                      Journal                   08.15.18 Deposit                                                     2.12
  08/17/2018                      Journal                   08.17.18 Deposit                                                  397.00

  Total                                                                                                                      549.12




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                                                   10152 M&T Controlled Disbursement, Period Ending 07/31/2018

                                                                      RECONCILIATION REPORT

                                                                        Reconciled on: 08/21/2018

                                                                     Reconciled by: Harris Goldberg

  Any changes made to transactions after this date aren't included in this report.

  Summary                                                                                                                                     USD

  Statement beginning balance                                                                                                                 18.00
  Checks and payments cleared (21)                                                                                                       -13,695.28
  Deposits and other credits cleared (11)                                                                                                 38,526.49
  Statement ending balance                                                                                                                24,849.21

  Uncleared transactions as of 07/31/2018                                                                                                -13,069.67
  Register balance as of 07/31/2018                                                                                                       11,779.54
  Cleared transactions after 07/31/2018                                                                                                        0.00
  Uncleared transactions after 07/31/2018                                                                                                 -3,519.51
  Register balance as of 08/21/2018                                                                                                        8,260.03



  Details

  Checks and payments cleared (21)

  DATE                             TYPE                              REF NO.                          PAYEE                          AMOUNT (USD)
  06/18/2018                       Bill Payment                      10042                                                                  -152.00
  06/18/2018                       Bill Payment                      10052                            Prime Storage Westville               -255.17
  06/18/2018                       Bill Payment                      10053                            Prime Storage Westville               -316.28
  06/26/2018                       Bill Payment                      10043                                                                  -327.72
  06/27/2018                       Bill Payment                      10044                                                                -2,523.93
  06/27/2018                       Bill Payment                      10045                            XO Communications                     -305.00
  06/28/2018                       Bill Payment                      10046                                                                -4,839.74
  07/02/2018                       Bill Payment                      10056                                                                   -62.29
  07/02/2018                       Expense                                                            NCR Corporation                       -189.77
  07/02/2018                       Bill Payment                      10051                            HFA Bridge                          -1,250.00
  07/02/2018                       Bill Payment                      10048                                                                  -285.67
  07/02/2018                       Bill Payment                      10047                                                                  -141.93
  07/03/2018                       Expense                                                                                                   -36.50
  07/05/2018                       Bill Payment                                                       NCR Corporation                       -236.52
  07/06/2018                       Bill Payment                      10054                                                                  -183.54
  07/06/2018                       Bill Payment                      10055                                                                   -28.73
  07/10/2018                       Bill Payment                      10051                            Parkway Corpoation                  -1,150.00
  07/16/2018                       Expense                                                                                                  -220.86
  07/23/2018                       Expense                                                            NCR Corporation                       -160.92
  07/27/2018                       Bill Payment                      10058                                                                  -873.72
  07/30/2018                       Expense                                                            Verizon                               -154.99

  Total                                                                                                                                -13,695.28


  Deposits and other credits cleared (11)

  DATE                             TYPE                              REF NO.                          PAYEE                          AMOUNT (USD)
  07/02/2018                       Expense                                                                                                2,400.00
  07/02/2018                       Expense                                                                                                  600.00
  07/02/2018                       Deposit                                                            NCR Corporation                       189.77
  07/03/2018                       Expense                                                                                                  400.00
  07/05/2018                       Expense                                                                                                7,000.00
  07/05/2018                       Expense                                                                                                  200.00
  07/06/2018                       Expense                                                                                                   63.00
  07/06/2018                       Expense                                                                                                  300.00
  07/10/2018                       Bill Payment                      10057                            Parkway Corpoation                      0.00
  07/11/2018                       Expense                                                                                                1,500.00
  07/27/2018                       Expense                                                                                               25,873.72



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  Additional Information

  Uncleared checks and payments as of 07/31/2018

  DATE                            TYPE                       REF NO.            PAYEE                               AMOUNT (USD)
  06/08/2018                     Bill Payment                10068             One Source Imaging Solution…              -3,475.67
  07/27/2018                     Bill Payment                10059             Ceisler Media and Issue Advo…            -25,000.00
  07/30/2018                     Bill Payment                10064             Neil LeBude                                  -52.00
  07/30/2018                     Bill Payment                10065             Weber Gallagher Simpson Sta…                -857.50
  07/30/2018                     Bill Payment                10060             Dunbar Armored Inc.                          -13.74
  07/30/2018                     Bill Payment                10061             Freeman Law Offices                       -1,105.00
  07/30/2018                     Bill Payment                10063             NCR Corporation                           -2,597.72
  07/30/2018                     Bill Payment                10062                                                         -204.47

  Total                                                                                                               -33,306.10


  Uncleared deposits and other credits as of 07/31/2018

  DATE                            TYPE                       REF NO.            PAYEE                               AMOUNT (USD)
  05/01/2018                     Journal                     Balance end 5/1                                            20,236.43
  06/15/2018                     Bill Payment                10050             Parkway Corpoation                            0.00

  Total                                                                                                                20,236.43


  Uncleared checks and payments after 07/31/2018

  DATE                            TYPE                       REF NO.            PAYEE                               AMOUNT (USD)
  08/01/2018                     Check                       Trans to Benef                                              -1,697.40
  08/07/2018                     Bill Payment                10067             GRGDC2LLC                                 -1,822.11

  Total                                                                                                                -3,519.51




                                                                                                                                 2/2
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Debtor                                                                                                                                     Reporting Period: 07/03/2018 to 07/31/2018

                                                                           SCHEDULE OF PROFESSIONAL FEES AND EXPENSES PAID
                                                                    This schedule is to include all retained professional payments from case inception to current month.

                                                          Amount                                           Check                      Amount Paid                              Year-To-Date
              Payee                  Period Covered      Approved               Payor             Number            Date         Fees         Expenses                     Fees           Expenses
Porzio, Bromberg & Newman P.C.       Note 1                            Debtor                    WIRE              5/15/2018    115,000.00             0.00                 115,000.00           0.00
Porzio, Bromberg & Newman P.C.       Note 1                            Debtor                    WIRE              6/14/2018    160,000.00             0.00                 275,000.00           0.00




1. Professional fee fund to be held in escrow on behalf of all professionals.




                                                                                                                                                                                        FORM MOR-1b
                                                                                                                                                                                              (04/07)
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In re: Garces Restaurant Group, Inc.                                                                                Case No. 18-19054 (JNP)
Debtor                                                                              Reporting Period:               07/03/2018 to 07/31/2018

                                                      STATEMENT OF OPERATIONS
                                                               (Income Statement)

The Statement of Operations is to be prepared on an accrual basis. The accrual basis of accounting recognizes revenue when it is
realized and expenses when they are incurred, regardless of when cash is actually received or paid.

                                                                                                                            Cumulative
REVENUES                                                                            Month                                  Filing to Date
Gross Revenues                                                                      $                               $
Less: Returns and Allowances
Net Revenue                                                                         $                               $
COST OF GOODS SOLD
Beginning Inventory
Add: Purchases
Add: Cost of Labor
Add: Other Costs (attach schedule)
Less: Ending Inventory
Cost of Goods Sold
Gross Profit
OPERATING EXPENSES
Advertising
Auto and Truck Expense
Bad Debts
Contributions
Employee Benefits Programs
Insider Compensation*
Insurance
Management Fees/Bonuses
Office Expense
Pension & Profit-Sharing Plans
Repairs and Maintenance
Rent and Lease Expense
Salaries/Commissions/Fees
Supplies
Taxes - Payroll
Taxes - Real Estate
Taxes - Other
Travel and Entertainment
Utilities
Other (attach schedule)
Total Operating Expenses Before Depreciation
Depreciation/Depletion/Amortization
Net Profit (Loss) Before Other Income & Expenses
OTHER INCOME AND EXPENSES
Other Income (attach schedule)
Interest Expense
Other Expense (attach schedule)
Net Profit (Loss) Before Reorganization Items
REORGANIZATION ITEMS
Professional Fees
U. S. Trustee Quarterly Fees
Interest Earned on Accumulated Cash from Chapter 11 (see continuation sheet)
Gain (Loss) from Sale of Equipment
Other Reorganization Expenses (attach schedule)
Total Reorganization Expenses
Income Taxes
Net Profit (Loss)                                                                   $                               $

*"Insider" is defined in 11 U.S.C. Section 101(31).



                                                                                                                                            FORM MOR-2
                                                                                                                                                 (04/07)
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In re: Garces Restaurant Group, Inc.                                                                                                                Case No. 18-19054 (JNP)
Debtor                                                                                                                            Reporting Period: 07/03/2018 to 07/31/2018

                                                                                      BALANCE SHEET

The Balance Sheet is to be completed on an accrual basis only. Pre-petition liabilities must be classified separately from postpetition obligations.

                                                                                                        BOOK VALUE AT END OF                               BOOK VALUE ON
                                        ASSETS                                                       CURRENT REPORTING MONTH                               PETITION DATE
CURRENT ASSETS
Unrestricted Cash and Equivalents
Restricted Cash and Cash Equivalents (see continuation sheet)
Accounts Receivable (Net) *
Notes Receivable
Inventories
Prepaid Expenses
Professional Retainers
Other Current Assets (attach schedule)
TOTAL CURRENT ASSETS
PROPERTY AND EQUIPMENT
Real Property and Improvements
Machinery and Equipment
Furniture, Fixtures and Office Equipment
Leasehold Improvements
Vehicles
Less Accumulated Depreciation
TOTAL PROPERTY & EQUIPMENT
OTHER ASSETS
Loans to Insiders*
Other Assets (attach schedule)
TOTAL OTHER ASSETS
TOTAL ASSETS

                                                                                               BOOK VALUE AT END OF                                        BOOK VALUE ON
                 LIABILITIES AND OWNER EQUITY                                                 CURRENT REPORTING MONTH                                      PETITION DATE
LIABILITIES NOT SUBJECT TO COMPROMISE (Postpetition)
Accounts Payable
Taxes Payable (refer to FORM MOR-4)
Wages Payable
Notes Payable
Rent / Leases - Building/Equipment
Secured Debt / Adequate Protection Payments
Professional Fees
Amounts Due to Insiders*
Other Postpetition Liabilities (attach schedule)
TOTAL POSTPETITION LIABILITIES
LIABILITIES SUBJECT TO COMPROMISE (Pre-Petition)
Secured Debt
Priority Debt
Unsecured Debt
TOTAL PRE-PETITION LIABILITIES

TOTAL LIABILITIES
OWNER EQUITY
Capital Stock
Additional Paid-In Capital
Partners' Capital Account
Parters' Draw
Retained Earnings - Pre-Petition
Retained Earnings - Postpetition
Adjustments to Owner Equity (attach schedule)
Postpetition Contributions (Distributions) (Draws) (attach schedule)
NET OWNER EQUITY

TOTAL LIABILITIES AND OWNERS' EQUITY




                                                                                                                                                                                     FORM MOR-3
                                                                                                                                                                                          (04/07)
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In re: Garces Restaurant Group, Inc.                                                                                         Case No. 18-19054 (JNP)
Debtor                                                                                                     Reporting Period: 07/03/2018 to 07/31/2018

                                                        STATUS OF POSTPETITION TAXES

The beginning tax liability should be the ending liability from the prior month or, if this is the first report, the amount should be zero.
Attach photocopies of IRS Form 6123 or payment receipt to verify payment or deposit of federal payroll taxes.
Attach photocopies of any tax returns filed during the reporting period.

                                                       Beginning         Amount                                                                    Ending
                                                         Tax            Withheld or          Amount                Date             Check No.        Tax
                                                       Liability         Accrued              Paid                 Paid              or EFT        Liability
Federal
Withholding *
FICA-Employee
FICA-Employer
Unemployment
Income
Other:_________________
  Total Federal Taxes
State and Local
Withholding
Sales
Excise
Unemployment
Real Property
Personal Property
Other:_________________
  Total State and Local
Total Taxes

* Includes all withholdings.
                                               SUMMARY OF UNPAID POSTPETITION DEBTS

Attach aged listing of accounts payable.

                                                                                            Number of Days Past Due
                                                    Current           0-30              31-60         61-90                      Over 90        Total
Accounts Payable
Wages Payable
Taxes Payable
Rent/Leases-Building
Rent/Leases-Equipment
Secured Debt/Adequate Protection Payments
Professional Fees
Amounts Due to Insiders*
Other: Note Payable
Total Postpetition Debts

*"Insider" is defined in 11 U.S.C. Section 101(31).




                                                                                                                                                        FORM MOR-4
                                                                                                                                                             (04/07)
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In re: Garces Restaurant Group, Inc.                                                                      Case No. 18-19054 (JNP)
Debtor                                                                                  Reporting Period: 07/03/2018 to 07/31/2018


                          ACCOUNTS RECEIVABLE RECONCILIATION AND AGING


Accounts Receivable Reconciliation                                                              Amount
Total Accounts Receivable at the beginning of the reporting period
+ Amounts billed during the period
- Amounts collected/adjusted during the period
Total Accounts Receivable at the end of the reporting period

Accounts Receivable Aging                                                                       Amount
0 - 30 days old
31 - 60 days old
61 - 90 days old
91+ days old
Total Accounts Receivable
Amount considered uncollectible (Bad Debt)
Accounts Receivable (Net)

                                                  DEBTOR QUESTIONNAIRE

Must be completed each month                                                                  Yes                  No
1. Have any assets been sold or transferred outside the normal course of business                                  X
   this reporting period? If yes, provide an explanation below.
2. Have any funds been disbursed from any account other than a debtor in possession                                 X
   account this reporting period? If yes, provide an explanation below.
3. Have all postpetition tax returns been timely filed? If no, provide an explanation          X
   below.
4. Are workers compensation, general liability and other necessary insurance                   X
   coverages in effect? If no, provide an explanation below.
5. Has any bank account been opened during the reporting period? If yes, provide                                    X
   documentation identifying the opened account(s).




                                                                                                                                     FORM MOR-5
                                                                                                                                          (04/07)
